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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Florida

ELSA R. ALMEIDA

 

Plaintiff

Vv Civil Action No. 1:20-cv-21768-UU

PARADISE CHRISTIAN SCHOOL
& DEVELOPMENT CENTER, INC.

— SS“ ~~”

 

Defendant

SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) PARADISE CHRISTIAN SCHOOL & DEVELOPMENT CENTER, INC. through Its
Registered Agent

FLUNEY, EILEEN DR
6184 WEST 21 COURT
HIALEAH, FL 33016

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ~The Law Office of Zandro E. Palma, P.A.

9100 South Dadeland Boulevard
Suite 1500
Miami, FL 33156

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SUMMONS

s/P. Curtis

Date: Apr 28, 2020

 

 

Deputy Clerk
U.S. District Courts

 

Clerk of Court
